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“h AO 91 (Rev. 08/09) -Criminal Complaint ‘ United States Distr, Coeth
“FILED *
UNITED STATES DISTRICT COURT o
JAN 17 2020
for the
Southern District of Texas David J. Bradley, Clerk
_ United States‘of Ametica ~ ) |
v. d+
) Case No. Ak- ZO -O109-M
Luis Enrique VAZQUEZ De La CRUZ ) .
YOB: 1995 CITIZENSHIP: Mexico’ »
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

_On or about the date(s) of January 15, 2020 -_ in the county of ‘ Hidalgo ___ in the
_ Southern | District of Texas , the defendant(s) violated:

| _ Code Section — Offense Description
18 U.S.C. § 554 Knowingly and fraudulantly smuggled cigarettes from the United States contrary.
18 U.S.C. § 2342 (a)(b) ; (at shall be unlawful for any person knowingly to ship, transport, receive,

possess; sell, distribute, or purchase contraband cigarettes or contraband

smokeless tobacco.

(b)It shall be unlawful for any person knowingly to make any false statement or
representation with respect to the information required by this chapter to be kept .
in the records of any person who ships, sells, or distributes any quantity of
cigarettes in excéss of 10,000 in a single transaction. ~

This criminal complaint is based on these facts:

~ SEE ATTACHMENT "A"

¥ Continued on'the attached sheet.

Aprored Aus Mh. tile
fer
VW ) 0 - Matthew Shoemaker U.S. HS! Special Agent
: Printed name and title

Sworn to before me ‘and signed in my presence.

LZ, 2020 SLO

g: $¥O Onn, Judge's signature

  

 

Complainant's signature

 

   

Date: -

City and state: McAllen, Texas" . Honorable Peter Ormbsy U.S. ee Judge
. Printed name and title
 

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Attachment A -

- On-January 15, 2020, a Texas Department of Public Safety (DPS) trooper,
conducted a traffic stop on tractor-trailer that was observed committing a
traffic violation. During the traffic stop, the driver. of the tractor trailer,
identified as Luis Enrique VAZQUEZ De La Cruz, presented DPS troopers
with two separate bills of lading, one-in English stating the cargo was used
cloths, toys, and’purses, the other in Spanish stating the cargo was bulk
cotton. VAZQUEZ gave DPS consent to search his tractor trailer. During
the consensual search, DPS troopers discovered a large quantity of foreign
produced cigarettes inside the trailer. After the discovery of the cigarettes,
DPS troopers contacted Homeland Security Investigations (HSI) in
McAllen, Texas to request assistance: with the illegal cigarette smuggling
investigation.

On January. 15, 2020, an HSI Special Agent (SA) advised VAZQUEZ of his"
Miranda rights, VAZQUEZ stated he understood his rights and voluntarily
waived them orally and in writing: VAZQUEZ made the following non-
verbatim statements that have been paraphrased and may not be in the order
in which he gave: them

VAZOQURZ admitted he had knowledge that it was 1s illegal to export the large
quantity of cigarettes, whose value exceeded 10,000 US. dollars, into ~
Mexico. VAZQUEZ stated he he was not going to declare the cigarettes to
United States (US) Customs and Border Protection at the port of entry.
VAZQUEZ stated he had smuggled cigarettes and contraband clothing ir into .
Mexico on numerous occasions. .

| VAZQUEZ stated that during the cigarcite smuggling attempt he- was being

_ guided by an individual acting as a scout. VAZQUEZ stated the scout was
going to guide him from the U.S. to Mexico. VAZQUEZ believed that
Mexican customs officials were being paid to not inspect his vehicle. |

. VAZQUEZ stated on previous occasions, after arriving in Mexico, he would
be followed by members of a Mexican Drug Trafficking Organization that
were responsible for confirming that they had been paid to permit the ~
passage of his vehicle through DTO territory to Camargo, Mexico.

A further inspection of the cigarettes in VAZQUEZ’s cargo revealed that a
quantity in excess of 10,000 cigarettes bore no evidence of the payment of
 

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Federal or Texas state cigarette taxes. The estimated number of cigarettes
‘found in VAZQUEZ’s possession exceeds 17,000,000 cigarettes.
